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                                         No. 21-1868


                    IN THE UNITED STATES COURT OF APPEALS
                            FOR THE FOURTH CIRCUIT


            Jonathan R., MINOR, BY NEXT FRIEND SARAH DIXON, ET AL.

                                     Plaintiffs-Appellants

                                                v.

                                   JIM JUSTICE, ET AL.

                                    Defendants-Appellees


           ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
                      SOUTHERN DISTRICT OF WEST VIRGINIA
                                 AT HUNTINGTON
                 _________________________________________________

                                  Brief of Appellants
                  _________________________________________________

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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

             In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
             statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
             or local government is not required to file a disclosure statement in pro se cases. (All parties
             to the action in the district court are considered parties to a mandamus case.)
             In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
             In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
             Any corporate amicus curiae must file a disclosure statement.
             Counsel has a continuing duty to update the disclosure statement.


        No. __________
            21-1868                Caption: __________________________________________________
                                            Jonathan R., minor, by Next Friend et al. v. Jim Justice et al.

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Jonathan R., minor, by Next Friend, Sarah Dixon; et al.
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          Appellant           makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES      NO


        2.      Does party/amicus have any parent corporations?                                   YES NO
                If yes, identify all parent corporations, including all generations of parent corporations:




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES NO
                If yes, identify all such owners:




        12/01/2019 SCC                                   -1-
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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




        Signature: ____________________________________
                   /s/ Richard W. Walters                                  Date: ___________________
                                                                                   November 8, 2021

        Counsel for: __________________________________
                     Plaintiff- Appellant




                                                      -2-              Print to PDF for Filing
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           I.       JURISDICTIONAL STATEMENT

                 The district court had jurisdiction over this action pursuant to 28 U.S.C. §§

        1331 and 1343(a), as well as under the Adoption Assistance and Child Welfare Act

        of 1980 (“AACWA”), 42 U.S.C. § 670 et. seq., the Americans with Disabilities Act

        (“ADA”), 42 U.S.C. § 12131(2), Section 504 of the Rehabilitation Act (“Section

        504” or “RA”), 29 U.S.C. § 794, and the respective implementing regulations. This

        Court has appellate jurisdiction under 28 U.S.C. § 1291.


           II.      STATEMENT OF THE ISSUES

                 1. Whether the district court abused its discretion by disregarding Sprint’s

                    clarification that abstention is only proper if a case falls squarely within

                    one of three “exceptional circumstances.”

                 2. Whether the district court abused its discretion when determining that this

                     case constitutes an “exceptional circumstance” warranting abstention

                     pursuant to Sprint.

                  3. Whether the district court abused its discretion by misconstruing

                     Plaintiffs’ allegations and requested relief in order to find this case met

                     the Middlesex factors warranting abstention.

                   4. Whether the district court incorrectly concluded that the “capable of

                      repetition, yet evading review” exception to mootness doctrine did not

                      apply to the claims of six Named Plaintiff foster children asserting

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                    system-wide challenges to a child welfare agency whose actions would

                    otherwise be unreviewable.


           III.   STATEMENT OF THE CASE

              Plaintiffs-Appellants (“Plaintiffs”) represent the nearly 7,000 West Virginia

        foster children who, often as the result of abuse or neglect at home, rely on the West

        Virginia foster care system for their health, safety, and well-being. (See JA 086 at ¶

        31). Defendants-Appellees (“Defendants”) are the Governor of West Virginia, and

        the state executive agency (the Department of Health and Human Resources, or

        “DHHR”) and government officials responsible for operating the West Virginia

        foster care system. As an executive agency, DHHR is bound by statute “to provide

        care for neglected children who are committed to its care for custody or

        guardianship.” W. Va. Code § 49-2-1.

              Every child faces the same risks upon entry into the West Virginia child

        welfare system. For example, nearly a quarter of caseworker positions in the system

        remain vacant. (See JA 078 at ¶ 8.) Caseworkers also carry caseloads as high as fifty,

        despite nationally recognized standards that limit caseloads to between twelve and

        fifteen children per worker. (See JA 148 and 149 at ¶¶ 298, 300.)             Because

        Defendants, as an executive agency, have consistently failed to remedy these

        deficiencies, all children entering the West Virginia foster care system are at risk of



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        having the most important decisions of their lives made by caseworkers who are

        overworked, undertrained, and/or unqualified.

              Similarly, because Defendants, as an executive agency, fail to maintain

        enough safe and appropriate foster home placements, all children entering the West

        Virginia foster care system are at risk of sleeping in DHHR offices or hotels, (see

        JA 131 at ¶ 230) of being placed in a kinship home that Defendants fail to license,

        oversee, and/or support, (see JA 132 at ¶ 236.) or even of being shipped to an out-

        of-state residential facility. (See JA 132 at ¶ 236.) And as a result of any number of

        such systemic deficiencies in Defendants’ operation of the West Virginia foster care

        system, all children entering foster care are at risk of languishing there for years.

        (See JA 154 at ¶ 328.)

              Plaintiffs filed this case on behalf of twelve Named Plaintiffs, six of whom

        remain after the district court dismissed the other six’s claims as moot.1




        1
          The remaining six Named Plaintiffs assert live claims on behalf of the General
        Class and their respective Subclasses. Karter W. is a member of the General Class
        and the ADA Subclass. (See JA 116 at ¶ 164.) Ace L. is a member of the General
        Class and the ADA Subclass. (See JA 120 at ¶ 183.) Dennis C. is a member of the
        General Class, the Kinship Class, the ADA Subclass, and the Aging Out Subclass.
        (See JA 110 at ¶ 137.) Theo S. is a member of the General Class and the ADA
        Subclass. (See JA 098 at ¶ 76.) Anastasia M. is a member of the General Class and
        the ADA Subclass. (See JA 093 at ¶ 55.) Jonathan R. is a member of the General
        Class, the Kinship Subclass, the ADA Subclass, and the Aging Out Subclass. (See
        JA 090 at ¶ 42.)

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              Karter W. is a teen who has been in Defendants’ custody and care since 2016.

        (See JA 116 at ¶ 164.) His first placement after entering Defendants’ custody was in

        a foster home where he was forced to live in the basement, which he was permitted

        to leave only for dinner and to attend school. (See JA 117 at ¶ 168.) At the time of

        filing, Karter was placed at a psychiatric treatment facility in Virginia, more than

        five hours from his home. (See JA 118 at ¶ 177.)

              Ace L. is an older youth who has also been in Defendants’ custody and care

        since 2016. (See JA 120 at ¶183.) He suffers from encopresis, which is often a

        response to physical and sexual trauma. (See JA 120 at ¶ 185.) However, as of the

        time of filing, Ace had received no therapeutic interventions to address the

        underlying abuse or his encopresis. (See JA 120 at ¶ 185.)

               Dennis C. is an older youth who has been in Defendants’ custody and care

        since he was eleven. (See JA 110 at ¶ 137.) Despite his history of trauma and his

        cerebral palsy diagnosis, however, as of filing, Defendants have never provided

        Dennis with a therapeutic or special needs placement. (See JA 111 at ¶ 142.) Instead,

        Dennis was placed in group homes and other institutional settings; his placement at

        the time of filing was at a residential facility where he receives a higher level of care

        than he actually requires. (See JA 112 at ¶ 147.)

               Theo S. is a young child who has been in Defendants’ custody and care since

        he was three. (See JA 099 at ¶ 82.) In a little over two years, Theo was cycled through


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        eleven placements. (See JA 100 at ¶¶ 91-92.) When Theo was six, he was placed in

        a treatment facility in Virginia, over five hours away from his home. (See JA 101 at

        ¶ 95.) He remained there at the time of filing. (See JA 102 at ¶¶ 100-101.)

              Anastasia M. is an adolescent who has been in Defendants’ custody and care

        twice, first entering care when she was four years old. (See JA 093 at ¶ 56.) She re-

        entered care at the age of ten, (see id.), and subsequently experienced seven different

        placements in just six months. (See JA 094 at ¶ 59.) She has also spent months in

        emergency shelters. (See JA 094 at ¶ 61.) At the time of filing, Anastasia was placed

        in a facility in Georgia, which has a history of sexual assault allegations. (See JA

        095 at ¶ 63.)

               Jonathan R. is a teenager who, at the time of filing, had spent most of his past

        seven years in institutional care. (See JA 090 at ¶ 42.)

              The court dismissed as moot the claims of the six other Named Plaintiffs:

        Serena S. (see JA 095-098 at ¶¶ 66-75); Gretchen C. (see JA 107-110 at ¶¶ 121-136);

        Calvin, Carolina, and Chris K. (see JA 113-116 at ¶¶ 152-163); and Garrett M. (see

        JA 102-106 at ¶¶ 102-120).

              Plaintiffs filed their Complaint on October 1, 2019. Defendants moved to

        dismiss Plaintiffs’ Complaint on November 26, 2019. Defendants also filed four

        motions moving to dismiss Named Plaintiffs’ claims as moot between February

        2020 and November 2020. Plaintiffs opposed each of these motions. On July 28,


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        2021, the district court granted Defendants’ motion to dismiss on abstention

        grounds, and motions to dismiss the claims of six Named Plaintiffs on mootness

        grounds. On August 4, 2021, Plaintiffs filed their Notice of Appeal.


           IV.    SUMMARY OF THE ARGUMENT

              In the last fifteen years no other federal court has abstained from hearing class

        claims asserted by foster children against the child welfare agency bound to care for

        and protect them. Under the majority view, federal courts can, and must, exercise

        jurisdiction over claims that target state executive branch policies and practices

        rather than policies and practices of the state courts. See, e.g., T.F. v. Hennepin Cty.,

        No. 17-1826 (PAM/BRT), 2018 U.S. Dist. LEXIS 25841 (D. Minn. Feb. 16, 2018);

        M.B. v. Corsi, No. 2:17-cv-04102-NKL, 2018 U.S. Dist. LEXIS 3232 (W.D. Mo.

        Jan. 8, 2018); Tinsley v. McKay, 156 F.Supp.3d 1024 (D. Az. 2015); Connor B. v.

        Patrick, 771 F.Supp.2d 142 (D. Mass. 2011); Sam M. v. Chafee, 800 F. Supp. 2d

        363, 380 (D.R.I. 2011); Dwayne B. v. Granholm, No. 06-13548, 2007 U.S. Dist.

        LEXIS 28265 (E.D. Mich. Apr. 17, 2007); Kenny A. ex rel. Winn v. Perdue, 218

        F.R.D. 277 (N.D. Ga. 2003); Charlie H. v. Whitman, 83 F. Supp. 2d 476 (D.N.J.

        2000); Brian A. by Brooks v. Sundquist, 149 F. Supp. 2d 941 (M.D. Tenn. 2000);

        Marisol A. by Forbes v. Giuliani, 929 F. Supp. 662 (S.D.N.Y. 1996); LaShawn A. v.

        Kelly, 990 F.2d 1319 (D.C. Cir. 1993); K.H. v. Morgan, No. 87 C 9833, 1989 U.S.

        Dist. LEXIS 10516 (N.D. Ill. Sep. 6, 1989). “[T]he overwhelming majority of cases

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        have rejected Younger abstention in similar lawsuits challenging foster care systems,

        both at the circuit and district court level.” M.D. v. Perry, 799 F. Supp. 2d 712, 723

        (S.D. Tex. 2011).2 Since the court’s decision to abstain in July 2021, three more

        district courts also have decided to retain jurisdiction over similar foster care class

        actions and thus have joined the majority view. See Wyatt B., et al. v. Kate Brown,

        et al., No. 6:19- cv-00556-AA, 2021 U.S. Dist. LEXIS 184389, at *17-18 (D. Or.

        Sept. 27, 2021) (“[A]s in Tinsley, Plaintiffs’ claims are aimed at state agencies,

        specifically DHS, rather than at the Oregon juvenile courts”; “significant aspects”

        of the child welfare system “are reserved to DHS . . . and Plaintiffs’ claims are

        directed at those very aspects”); Ashley W., et al. v. Eric Holcomb, et al., Case No.

        3:19-cv-00129-RLY-MPB (S.D. Ind. Sept. 29, 2021) (“Plaintiffs are not asking the

        court to regulate the day-to-day conduct of state-court CHINS proceedings . . . They

        are asking the court to assess the constitutionality of DCS’ actions and failures to

        address systematic deficiencies within the foster care system.”); Bryan C. v.

        Lambrew, No. 1:21-cv-00005-NT, 2021 U.S. Dist. LEXIS 190891, at *22 (D. Me.

        Oct. 4, 2021) (“[N]umerous district courts have held in cases challenging the




        2
         The Second, Fifth, Seventh, and Ninth Circuit Courts have all accepted the majority
        view by allowing challenges to the foster care system to proceed in federal court.
        See B.K. v. Snyder, 922 F.3d 957 (9th Cir. 2019); M.D. v. Abbott, 907 F.3d 237 (5th
        Cir. 2018); Marisol A. by Forbes v. Giuliani, 126 F.3d 372 (2d Cir. 1997); K.H. v.
        Morgan, 914 F.2d 846 (7th Cir. 1990).
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        administration of a state’s foster care system that Younger abstention is not

        appropriate.”) (internal quotation omitted).

              In dismissing Plaintiffs’ case, the lower court committed three errors, each of

        which on its own constitutes an abuse of discretion that necessitates the reversal of

        the lower court’s decision.

              First, the district court committed an error of law by failing to apply the correct

        standard for abstention under Younger v. Harris, 401 U.S. 37 (1971). In 2013, the

        Supreme Court made clear that the three factors articulated in Middlesex Cty. Ethics

        Comm. v. Garden State Bar Ass’n, were only “additional factors appropriately

        considered by the federal court before invoking Younger.” Sprint Communs., Inc. v.

        Jacobs, 571 U.S. 69, 81 (2013). In other words, district courts may only consider the

        Middlesex factors after determining that the state court proceedings in question fall

        under one of three “exceptional circumstances” laid out in Sprint.

              The district court failed to apply this standard, deciding instead that Plaintiffs’

        individual circuit court proceedings were a “hybrid” of two categories of

        “exceptional circumstances.” (JA 233.) Sprint plainly “extends [abstention] to the

        three ‘exceptional circumstances’ . . . but no further.” Sprint, 571 U.S. at 82. By

        expanding the Supreme Court’s holding in Sprint, the district court abused its

        discretion, necessitating reversal.




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              Second, the district court’s Sprint analysis relied exclusively upon inapposite,

        pre-Sprint decisions that contravene Sprint’s holding, by failing to consider whether

        the case at issue fell within one of the three “exceptional circumstances” warranting

        abstention. The district court’s conclusions thus rest on outdated and erroneous

        abstention principles. The district court also ignored an entire body of more recent

        and more analogous class action challenges to foster care systems finding that when

        plaintiffs challenge state executive agency conduct—as here—abstention is

        unwarranted. See supra Sec. IV at pp. 13-14. Had the district court acknowledged

        and applied the abstention principles underlying Sprint and other recent foster care

        decisions, it would have correctly determined that this case does not fit within any

        of Sprint’s three “exceptional circumstances,” rendering abstention unwarranted.

              Third, the district court relied upon its own unsupported observations and

        conclusions when determining that the three Middlesex factors warranted abstention.

        Once again, the district court relied almost exclusively on decades-old pre-Sprint

        authority while ignoring more recent, and more analogous, foster care class action

        precedent.

              In addition to dismissing Plaintiffs’ claims on abstention grounds, the district

        court incorrectly dismissed six individual Named Plaintiffs’ claims as moot. Foster

        children’s system-wide challenges to state executive agencies, however, fall under

        the “capable of repetition, yet evading review” exception to mootness doctrine. The


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        exception is meant to protect claims like Plaintiffs’, which arise from Defendants’

        conduct towards them during their temporary and unpredictable stays in foster care.3

        The district court’s ruling would make child welfare agencies effectively impervious

        to civil rights litigation. Accordingly, the district court’s dismissal of those Named

        Plaintiffs’ claims was improper and should be reversed.


            V.      ARGUMENT

                 Under Younger, and as later clarified by the Supreme Court in New Orleans

        Pub. Serv., Inc. (“NOPSI”) and Sprint, abstention doctrine’s narrow intended

        purpose is to prevent federal court interference with state court proceedings. See

        generally Younger, 401 U.S. 37 (1971); New Orleans Pub. Serv., Inc. v. Council of

        New Orleans, 491 U.S. 350 (1989); and Sprint, 571 U.S. 69 (2013). The ruling of

        the district court, however, threatens to expand Younger abstention into a shield for

        state executive agencies evading legal responsibility for their unconstitutional and

        illegal behavior. As a state executive agency and the government officials

        responsible for operating the West Virginia foster care system, Defendants bear sole

        responsibility for hiring, training, and retaining enough child welfare caseworkers,

        for instance, and for securing and supporting enough foster homes for foster children

        to live in. When the state abdicates those duties, as Defendants have done in West


        3
          This case was already subject to a four-month stay, rendering the mootness
        exception particularly appropriate.
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        Virginia, children suffer. Plaintiffs allege that Defendants’ failures are so chronic,

        widespread, and severe that they amount to violations of those West Virginia

        children’s constitutional and statutory rights.

              Defendants moved to dismiss Plaintiffs’ claims on abstention grounds. They

        contend that Plaintiffs’ allegations of agency-wide dysfunction and deficiency are

        actually complaints about each child’s individual West Virginia circuit court

        proceedings. Because the state circuit courts ratify the case plans, services, and

        placements that Defendants supply, Defendants reason only circuit courts should be

        held accountable for the harms suffered by Plaintiff Children. But Plaintiffs do not

        complain about the propriety of individual circuit court decisions, and Plaintiffs’

        legal injuries do not stem from individual circuit court outcomes. Rather, Plaintiffs

        allege class-wide constitutional and federal statutory harms that result from

        Defendants’ class-wide and systemic misconduct. Plaintiffs could never raise their

        class-wide claims during any individual child’s circuit court proceedings. Nor are

        state circuit courts equipped to offer the kind of class-wide injunctive relief

        necessary to remedy Defendants’ systemic deficiencies. West Virginia’s circuit

        court judges are tasked with approving the individual case plans, placements, and

        services developed by Defendants, not with correcting Defendants’ system-wide

        failures as an executive agency.




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               The West Virginia district court nevertheless abstained from exercising

        jurisdiction because “[a] ruling favorable to Plaintiffs would interfere with and

        disrupt these state court proceedings.” (JA 240.)

               A. THE DISTRICT COURT ABUSED ITS DISCRETION IN GRANTING
               DEFENDANTS’ MOTION TO ABSTAIN.

               The Supreme Court has “carefully defined . . . the areas in which [Younger]

        abstention is permissible, [so] it remains the exception, not the rule.” NOPSI, 491

        U.S. at 359 (internal quotations omitted); see also Martin v. Stewart, 499 F.3d 360,

        364 (4th Cir. 2007) (“The Supreme Court has never allowed abstention to be a

        license for free-form ad hoc judicial balancing . . . The Court has instead defined

        specific doctrines that apply in particular classes of cases.”). Because “federal courts

        have a virtually unflagging obligation to exercise their jurisdiction[,] . . . [a]bstention

        doctrines constitute extraordinary and narrow exceptions to a federal court’s duty to

        exercise the jurisdiction conferred on it.” Id. at 363 (internal citations omitted).

        “Consequently, there is little or no discretion to abstain in a case which does not

        meet traditional abstention requirements.” Id.

               1. Standard of Review

               The Fourth Circuit reviews a district court’s decision to abstain for abuse of

        discretion. See Harper v. PSC, 396 F.3d 348, 351 (4th Cir. 2005). A district court

        abuses its discretion “whenever its decision is guided by erroneous legal principles,”

        or “when it makes an error of law.” Martin, 499 F.3d at 363; see also Brandon v.
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        Guilford Cty. Bd. of Elections, 921 F.3d 194, 199 (4th Cir. 2019) (abuse of discretion

        where opinion was “an outlier decision, standing apart from the near-unanimous

        precedents on the subject”); Fernandes v. Craine, 538 F. App’x 274, 276 (4th Cir.

        2013) (abuse of discretion where opinion “contravened . . . precedent”).

              2. Under Sprint, Abstention Is Improper Unless the Case Falls Within
              One of Three “Exceptional Circumstances.”

              The Supreme Court “define[d] Younger’s scope” in Sprint, which held that

        Younger does not apply “outside these three ‘exceptional’ categories” of cases: 1)

        where the federal court would intrude into “ongoing state criminal prosecutions,” 2)

        “certain ‘civil enforcement proceedings,’” and 3) where the federal court would

        “interfer[e] with pending civil proceedings involving certain orders uniquely in

        furtherance of the state courts’ ability to perform their judicial functions.” Sprint,

        571 U.S. at 78. As the Court emphasized, “Younger extends to [those] three

        ‘exceptional circumstances . . . but no further.” Id. at 82.

              The district court, however, did not determine this case fit within one of

        Sprint’s three exceptional categories. Instead, the district court identified this case

        as “a hybrid of both the second and third categories of cases,” as it “involve[s] state-

        initiated abuse and neglect proceedings like in Moore v. Sims,” and “ask[s] this Court

        to issue an injunction ‘aimed at controlling or preventing the occurrence of specific

        events that might take place in the course of future state’ abuse and neglect

        proceedings, like in O’Shea v. Littleton.” (JA 233.) In other words, the district court
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        only determined that this case shares some characteristics of the second Sprint

        category, and some characteristics of the third Sprint category.4

              Sprint commands that Younger applies only to cases fitting squarely within

        one of the three “exceptional circumstances” that Sprint identified. See Sprint, 571

        at 73 (recognizing that “the general rule [otherwise] governs”). Because “the

        Supreme Court has never allowed abstention to be a license for free-form ad hoc

        judicial balancing,” Martin, 499 F.3d at 364, this abuse of discretion alone

        necessitates reversal.

              3. The District Court Erred by Relying on Inapposite, pre-Sprint
              Authority to Determine that this Case Was an “Exceptional
              Circumstance” Warranting Abstention under Sprint.

              Sprint clarified that the Middlesex factors “were not dispositive” but rather

        only “additional factors appropriately considered by the federal court before

        invoking Younger.” Sprint, 571 U.S. at 81. Otherwise, the Sprint Court warned:

                     [T]he three Middlesex conditions would extend Younger
                     to virtually all parallel state and federal proceedings, at
                     least where a party could identify a plausibly important
                     state interest. That result is irreconcilable with our
                     dominant instruction that, even in the presence of parallel
                     state proceedings, abstention from the exercise of federal
                     jurisdiction is the ‘exception, not the rule.’


        4
          To the extent the district court concluded this case was a “hybrid” because it fit,
        independently, into both categories, that conclusion was plainly erroneous.
        “Circumstances fitting within the Younger doctrine, we have stressed, are
        ‘exceptional.’” Sprint, 571 U.S. at 73.

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        Id. at 81-82.

              Courts in the Fourth Circuit have recognized that Sprint “narrowed

        considerably the reach of the Younger doctrine.” Strickland-Lucas v. Citibank, N.A.,

        256 F. Supp. 3d 616, 625 (D. Md. 2017); see also Covington v. North Carolina, No.

        1:15-cv-399, 2015 U.S. Dist. LEXIS 196293, at *9 (M.D.N.C. Nov. 25, 2015). On

        these grounds, courts have found “cited cases . . . inapposite [when] they are . . . pre-

        Sprint.” Agomuoh v. PNC Fin. Servs. Grp., No. GJH-16-1939, 2017 U.S. Dist.

        LEXIS 22993, at *13 (D. Md. Feb. 16, 2017); see also Bryan C., 2021 U.S. Dist.

        LEXIS 190891, at *17 (“Defendants rely on the outdated Middlesex framework . . .

        The cases cited by the Defendants—all of which pre-date Sprint—do the same . . .

        The Supreme Court eschewed this approach in Sprint.”).

              Despite the breadth of relevant precedent, the district court relied exclusively

        on outdated and inapposite pre-Sprint authority that—as Sprint itself unambiguously

        rejected—extends Younger to civil proceedings involving no more than an

        “important state interest.” Throughout the thirteen pages of the decision that discuss

        Younger, the district court fails even to reference a single post-Sprint decision.

        Neither Moore nor O’Shea—the two pre-Sprint, decades-old cases on which the

        district court primarily relied—support the court’s decision to abstain.

              Plaintiffs in Moore—a husband, wife, and their three children—challenged

        the constitutionality of a Texas statute as it was applied during the same removal


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        proceedings that had enabled the state to take custody of the children. 442 U.S. 415,

        418-19 (1979).5 Those removal proceedings, which the state had initiated directly

        against the parents, remained ongoing when plaintiffs filed their claims in federal

        court. Id. at 421.

               The Supreme Court in Moore had found abstention “fully applicable to civil

        proceedings in which important state interests are involved.” Id. at 423. This is

        precisely what Sprint later warned against. See Sprint at 81 (“Divorced from their

        quasi-criminal context, the three Middlesex conditions would extend Younger to

        virtually all parallel state and federal proceedings, at least where a party could

        identify a plausibly important state interest.”). And yet, this is precisely what the

        West Virginia district court concluded. (See JA 232 (“Although Younger involved

        state criminal proceedings, the Supreme Court has expanded its application to

        ‘noncriminal judicial proceedings when important state interests are involved.’”).)

               Moreover, the Texas state court proceedings at issue in Moore were initiated

        against plaintiff-parents; those proceedings resulted in the removal of plaintiff-

        parents’ children. Here, Plaintiffs’ circuit court proceedings only ratify the

        placements and services that Defendants supply; they are not initiated against




        5
          To be sure, unlike the plaintiffs in Moore, Plaintiffs here do not challenge the
        constitutionality of any state statute.
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        Plaintiff Children. To the contrary, they serve Plaintiff Children’s best interests.6

        And to be sure, nothing in Moore prevented a Texas district court from rejecting

        Younger abstention in a foster care class action challenging the Texas foster care

        system. M.D., 799 F.Supp. 2d at 726; see also M.D. ex rel. Stukenberg v. Perry, 675

        F.3d 832, 835 (5th Cir. 2012) (exercising jurisdiction over class action alleging

        “class-wide injuries caused by systemic deficiencies” in Texas’ administration of

        child welfare system).

              The district court also committed a legal error by analogizing Plaintiffs’ case

        to O’Shea v. Littleton, in which plaintiffs sought injunctive relief targeting “the

        occurrence of specific events that might take place in the course of future state

        criminal trials.” 414 U.S. 488, 500 (1974) (emphasis added). The district court

        abused its discretion by relying on O’Shea out of context. (JA 233 (“Plaintiffs are

        also asking this Court to issue an injunction ‘aimed at controlling or preventing the

        occurrence of specific events that might take place in the course of future state’ abuse



        6
         See State v. Keith A., No. 17-0262, 2018 W. Va. LEXIS 342, at *4-5 (May 11,
        2018); see also In re Taylor B., 201 W. Va. 60, 66 (1997); Bryan C., 2021 U.S. Dist.
        LEXIS 190891 at *18 (“While it is true that a state-initiated proceeding to gain
        custody of children allegedly abused by their parents could fall into this [quasi-
        criminal] category,” foster children’s state court proceedings “are not attempts to
        sanction a party” and “lack any element that could put them into the quasi-criminal
        category.”); Tinsley, 156 F. Supp. 3d at 1034 (“periodic reviews differ from
        emergency removals like the one at issue in Moore . . . They do not qualify as quasi-
        criminal for purposes of Younger.”).

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        and neglect proceedings, like in O’Shea.”).) It was the criminal character of the

        underlying proceedings in O’Shea that rendered abstention warranted. As Plaintiff

        children’s circuit court proceedings are plainly non-criminal (see supra at pp. 23-

        24), O’Shea does not support abstention in this case.

              The district court also erroneously concluded that abstention was warranted

        since “the proposed relief contemplated in O’Shea appears quite similar to Plaintiffs’

        request here.” (JA 234.) But plaintiffs in O’Shea sought to enjoin discriminatory

        state court practices, such as bond-setting, sentencing, and jury-fee practices. See

        O’Shea, 414 U.S. at 495. The requested relief, the Supreme Court determined,

        “would require for its enforcement the continuous supervision by the federal court

        over . . . future criminal trial proceedings,” and would thus threaten “continuous or

        piecemeal interruptions of the state proceedings by litigation in the federal courts.”

        Id. at 500-01. Unlike in O’Shea, Plaintiffs here do not challenge any practices of the

        circuit courts of West Virginia. Plaintiffs’ requested injunctive relief targets only the

        executive actions of DHHR. (See JA 175 at ¶ 405.)

              Lastly, the district court failed to apply, or make any effort to distinguish,

        more recent precedent establishing that challenges to child welfare executive agency

        actions do not interfere with foster children’s state court proceedings warranting

        abstention. See supra Sec. IV at pp. 13-14. By making its Sprint determinations

        based only on pre-Sprint authority that directly contravenes Sprint’s holding and


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        ignoring entirely the abstention precedent established by more recent foster care

        class actions, the district court committed an abuse of discretion, causing it to

        become an outlier.

           4. None of the Middlesex Factors Support Abstention

              As Plaintiffs’ circuit court proceedings do not amount to quasi-criminal

        proceedings under Sprint, see supra Sec. V.A.3, the district court should have

        declined to abstain without proceeding to analyze Plaintiffs’ claims under

        Middlesex. Regardless, even under Middlesex, abstention here is unwarranted.

        Under Middlesex, courts should consider whether the federal action would interfere

        with an ongoing state proceeding; whether the proceedings implicate important state

        interests; and whether the proceedings provide an adequate opportunity to raise

        constitutional challenges. Middlesex Cty. Ethics Comm. v. Garden State Bar Ass’n,

        457 U.S. 423, 432 (1982). The district court abused its discretion to find this case

        meets all the Middlesex factors.

              a. Plaintiffs’ claims do not challenge the constitutionality or legality of
              circuit court decisions or practices, and thus do not interfere with any state
              court proceedings

              The district court misconstrued both Plaintiffs’ claims and requested relief to

        reach the unsupported conclusion that this case would “interfere with” Plaintiff

        Children’s circuit court proceedings. The district court erroneously concluded that

        simply because West Virginia circuit courts “play an important role” or are “heavily

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        involved” in individual children’s abuse and neglect proceedings by ratifying the

        placements and services supplied by Defendants, “[a] ruling favorable to Plaintiffs

        would interfere with and disrupt these ongoing state court proceedings.” (JA 237 and

        240.) This is not interference within abstention doctrine. See Brown v. Lexington

        Cty., No. 3:17-cv-1426-MBS, 2018 U.S. Dist. LEXIS 113976, at *20 (D.S.C. July

        9, 2018) (where plaintiffs “are not seeking review of Plaintiffs’ individual” state

        court decisions but rather “a declaration that Defendants’ alleged [executive]

        policies or practices . . . are unconstitutional, and an injunction enjoining those

        practices . . . the first Middlesex factor is not satisfied”).7

               The district court likewise misconstrued Plaintiffs’ requested relief, declaring

        without support that it would be issuing orders “concerning which placement

        decision or which services were best for a child.” (JA 240.) Plaintiffs’ requested

        relief, as explained supra Sec. V.A.3 at p. 25, would require only the issuance of

        orders to enjoin Defendants from engaging in unconstitutional and illegal conduct.




        7
          See also Connor B., 771 F. Supp. 2d at 157 (“Any indirect impact this case has on
        the juvenile courts is slight and fails to rise to the requisite level of interference”
        under Younger); Kenny A., 218 F.R.D. at 286 (“relief requested by plaintiffs would
        not interfere with ongoing juvenile court proceedings” because “relief directed
        solely at executive branch defendants”); Dwayne B., 2007 U.S. Dist. LEXIS 28265,
        at *20 (no interference because relief “is directed at the executive branch”); Brian
        A., 149 F. Supp. 2d at 957 (“[N]othing about this litigation seeks to interfere with or
        enjoin those [individual state court] proceedings. Rather, Plaintiffs seek injunctive
        relief against the Department of Children's Services, not the courts.”).
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        It was an abuse of discretion, accordingly, for the district court to find the first

        Middlesex factor met.

              b. Plaintiffs cannot raise their constitutional claims premised on Defendants’
              class-wide misconduct in their individual circuit court proceedings

              The distinct legal framework governing abuse and neglect proceedings in

        West Virginia could never allow for Plaintiffs to litigate their complex class-action

        claims—let alone obtain class-wide injunctive relief—in “the periodic review

        proceedings conducted as a part of these children’s ongoing abuse and neglect

        proceedings.” (JA 244.) The district court erred in concluding otherwise.

              This class action seeks to represent around 7,000 foster children. Plaintiffs’

        claims arise from structural deficiencies in the West Virginia foster care system that

        extend beyond any one child, and the injunctive relief necessary to remedy those

        structural deficiencies likewise extends beyond any one child. Besides the obvious

        inefficiencies of litigating Plaintiffs’ claims in 7,000 different individual circuit

        court proceedings, there are a number of legal and practical obstacles that prevent

        Plaintiffs from raising their constitutional and federal statutory class claims during

        those proceedings—none of which the district court considered.

              As an initial matter, litigating such constitutional class claims during an

        individual circuit court proceeding would violate West Virginia law. The West

        Virginia Rules of Procedure for Child Abuse and Neglect Proceedings (“RPCANP”)

        establish—unequivocally—that “[u]nder no circumstances shall a child abuse and
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        neglect proceeding be delayed pending the initiation, investigation, prosecution, or

        resolution of any other proceeding.” RPCANP Rule 5. See also Lawyer Disciplinary

        Bd. v. Thompson, 238 W. Va. 745, 757 (2017) (“[C]hild abuse and neglect

        proceedings [must be] afforded the highest priority by our courts and must be

        resolved as expeditiously as possible.”); W. Va. Code § 49-6-2(d). Raising complex

        constitutional class claims during individual circuit court proceedings would result

        in delay to those proceedings’ primary function—which is to ratify individual

        children’s placements and services as quickly as possible to ensure child safety and

        well-being. Individual circuit court proceedings thus do not provide an adequate

        opportunity to raise Plaintiffs’ claims.

              Plaintiffs could also never raise their constitutional class claims during their

        individual proceedings for the practical reason that precedent does not exist in such

        proceedings. “Because child [] abuse proceedings are confidential in nature, access

        to the records of such cases is limited, with even the family court being afforded

        restricted access to only certain documents in an abuse and neglect case file.” In the

        Interest of J.L., 234 W. Va. 116, 121 (2014); RPCANP Rule 6a(b) (“All records and

        information maintained by the courts in child abuse and neglect proceedings shall

        be kept confidential except as otherwise provided.”). Plaintiffs’ claims cannot be

        raised, let alone decided, without precedent or any prior case law at all. For that




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        practical reason, individual circuit court proceedings do not provide an adequate

        opportunity to raise Plaintiffs’ claims.

              To be sure, the West Virginia Supreme Court has admonished attorneys for

        attempting to address the “perceived systemic failures of DHHR” during individual

        abuse and neglect proceedings. See Thompson, 238 W. Va. at 757 (attorney “failed

        to represent her infant client's interests” by “hold[ing] the child's case hostage in a

        grossly misplaced attempt at advancing her views regarding the perceived failures

        of DHHR”). In “delaying the appellate process and thereby prolonging the

        permanency determination,” the state court determined, the attorney had “violated

        the duties . . . owed to the legal system and to the profession.” Id.

              B. THE DISTRICT COURT ERRED IN GRANTING DEFENDANTS’
              MOTION TO DISMISS THE CLAIMS OF SIX NAMED PLAINTIFFS
              AS MOOT.

              The district court erred in dismissing as moot the claims of Serena S.,

        Gretchen C., the sibling group Chris K., Calvin K., and Carolina K., and Garrett M.

        (See JA 231.) Its decision contravenes precedent establishing that systemic

        challenges to child welfare agencies asserted by foster children fall under the

        “capable of repetition yet evading review” exception to mootness. The foster care

        population is inherently transitory. Children are in care only temporarily, and they

        enter, exit, and often re-enter care unpredictably. Moreover, without the “capable of




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        repetition yet evading review” exception to mootness, child welfare agency actions

        would be effectively unreviewable.

              Importantly, even if this Court finds the district court did not improperly

        dismiss the claims of those Named Plaintiffs, this case may proceed on the remaining

        six Named Plaintiffs’ claims. The district court acknowledged that its decision to

        dismiss the claims of the six Named Plaintiffs did not dismiss the case as a whole,

        recognizing that “six other named Plaintiffs remain.” (JA 231.) These six Named

        Plaintiffs assert live claims upon which class certification may be granted. See Elisa

        W. v. City of N.Y., No. 15-cv-5273-LTS-HBP, 2017 U.S. Dist. LEXIS 141715, at

        *12 (S.D.N.Y. Sep. 1, 2017) (“[T]he Court has the power upon certification of the

        class to relate that certification back to the date of the original complaint, when all

        the Named Plaintiff Children were in [child welfare agency] custody.”). Moreover,

        class certification briefing has been complete since December 2020. At that time,

        six Named Plaintiffs—Karter W., Ace L., Dennis R., Theo S., Anastasia M., and

        Jonathan R.—were all still in foster care and had standing.

              1. Standard of Review

              Because “the relevant jurisdictional facts are not in dispute,” the Fourth

        Circuit should “review a district court’s dismissal based on mootness de novo.”

        Porter v. Clarke, 852 F.3d 358, 363 (4th Cir. 2017). The parties do not dispute the

        fact that at the time of the court’s dismissal, the six Named Plaintiffs in question


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        were not in DHHR custody or care, as a result of either the Named Plaintiff’s

        adoption or the Named Plaintiff’s “aging out” of foster care. The Fourth Circuit

        should therefore review the district court’s legal conclusion—that six Named

        Plaintiffs’ claims are moot—de novo.

              2. The Six Named Plaintiffs’ Claims Fall Under the “Capable of
              Repetition, Yet Evading Review” Exception to Mootness.

              Generally, “a case is moot when the issues presented are no longer ‘live’ or

        the parties lack a legally cognizable interest in the outcome.” Powell v. McCormack,

        395 U.S. 486, 496 (1969). However, where claims are “capable of repetition, yet

        evading review,” they fall under an “exception to that requirement.” Gerstein v.

        Pugh, 420 U.S. 103, 110 n.11 (1975). “[T]he exception applies where (1) the

        challenged action is in its duration too short to be fully litigated prior to cessation or

        expiration, and (2) there is a reasonable expectation that the same complaining party

        will be subject to the same action again.” FEC v. Wis. Right to Life, Inc., 551 U.S.

        449, 462 (2007).

              The West Virginia district court erred in declining to apply the “capable of

        repetition yet evading review” exception. (JA 227-229.) The exception was meant

        to protect claims such as those asserted by Plaintiffs.




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              a. Plaintiffs’ claims cannot be fully litigated prior to their exit from foster
              care

              According to the district court, Plaintiffs’ argument that “‘foster care is

        intended to be a short-term, temporary stay for children’. . . is in direct conflict with

        Plaintiffs’ continuing arguments that children in West Virginia’s foster care system

        ‘languish’ for years.” (JA 228.) The court further noted several of the Named

        Plaintiffs have been in foster care for years, “which undermines Plaintiffs’ argument

        that the children’s time in DHHR custody is too short to allow this action to be fully

        litigated.” (JA 227.)

              While some children do languish in foster care for years, a child’s time in

        foster care is intended to be temporary. Named Plaintiffs represent the harm, and

        risk of harm, all children in West Virginia’s foster care system are exposed to as a

        result of DHHR’s actions and inactions—which is why their stays are often not

        temporary. Plaintiffs’ Complaint moreover merely alleges that all children are at risk

        of languishing in foster care for years—not that all children, in fact, do. That many

        Named Plaintiffs “languished” in foster care does not disprove that foster care is

        intended to be short-term and temporary, involving durations too short to be properly

        litigated in a class action context.

              Because foster care is intended to be short-term and temporary, and there is

        no way of predicting how long a child’s stay in foster care will be, the Named

        Plaintiffs satisfy the first prong of the “capable of repetition, but evading review”
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        test. In Gerstein, the Supreme Court found pretrial detainees’ claims not moot

        because “[t]he length of pretrial custody cannot be ascertained at the outset” and “[i]t

        is by no means certain that any given individual, named as plaintiff, would be in

        pretrial custody long enough for a district judge to certify the class.” 420 U.S. at 110

        n.11; see also Brody v. Spang, 957 F.2d 1108, 1113 (3d Cir. 1992) (“[T]he length of

        the school year . . . is clearly too short to complete litigation and appellate review”).

        The claims of foster children such as Named Plaintiffs, similarly, are so short in

        duration that they evade review.

              b. Named Plaintiffs have a reasonable expectation of again being subject to
              the challenged actions

              According to the district court, Named Plaintiffs do not face a reasonable

        expectation of re-entry into foster care because such a possibility “is contradicted by

        the facts of this case.” (JA 229.) The court pointed only to the fact that those Named

        Plaintiffs had not “returned” to state custody since exiting in 2019 and 2020. (See

        JA 229.) But not even adoption precludes re-entry into foster care. In fact, as alleged

        in Plaintiffs’ Complaint, this is exactly what happened to Named Plaintiff Anastasia

        M. Anastasia M. first entered foster care at age four and was adopted, but re-entered

        foster care for the second time at age ten. (See JA 093 at ¶ 56.) Anastasia M. had

        been adopted for three and a half years when the placement disrupted. (See JA 094

        at ¶ 60.) And Named Plaintiff Ace L., for example, has been in foster care twice.

        (See JA 120 at ¶ 184.)
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              Courts have recognized that children can and do re-enter foster care. See Elisa

        W., 2017 U.S. Dist. LEXIS 141715, at *11 (“Some children will enter and leave [the

        child welfare system’s] custody multiple times during their lives because of factors

        entirely outside of their control.”).

              c. Named Plaintiffs’ claims are inherently transitory, and thus class
              certification “relates back” to the time of filing

              The district court declined to apply the “relation back” doctrine to the claims

        of the six Named Plaintiffs, which would permit them to remain as class

        representatives. However, the Supreme Court has held that “some claims are so

        inherently transitory that the trial court will not have even enough time to rule on a

        motion for class certification before the proposed representative’s individual interest

        expires.” Cty. of Riverside v. McLaughlin, 500 U.S. 44, 52 (1991). “In such cases,

        the ‘relation back’ doctrine is properly invoked to preserve the merits of the case for

        judicial resolution.” Id.

              Courts have held that the claims of foster children are inherently transitory.

        See Marisol A., 1998 U.S. Dist. LEXIS 7726, at *20 (foster care populations are

        “fluid, making the provision of legally mandated foster care services inherently

        transitory. Children enter and leave the system all the time . . . the goal of foster care

        is to locate appropriately permanent placements for children, not to have them

        remain in the child welfare system.”); see also Baxley v. Jividen, 508 F. Supp. 3d

        28, 44 (S.D. W. Va. 2020) (“The length of detention at WVDCR’s jails generally
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        cannot be determined at the outset and is subject to a number of unpredictable

        factors, thereby making it inherently transitory.”) Plaintiffs’ class claims therefore

        “relate back” to the time of filing.

              d. Defendants’ challenged conduct would otherwise evade review

              Plaintiffs allege DHHR’s deficiencies are “chronic,” (JA 081 at ¶ 10) and their

        policies and practices “routinely” violate West Virginia children’s rights, (JA 079 at

        ¶ 9). DHHR’s chronic and routine unconstitutional conduct results in harm to a

        transitory, temporary population. There will always be children in West Virginia

        harmed by DHHR’s actions. See Gerstein, 420 U.S. at 110 n.11 (“[I]n this case the

        constant existence of a class of persons suffering the deprivation is certain”). “[T]he

        transitory nature of the conduct giving rise to the suit…effectively insulate[s]

        defendants’ conduct from review.” Genesis HealthCare Corp. v. Symczyk, 569 U.S.

        66, 76 (2013).


           VI.    CONCLUSION

              For the reasons set forth above, Plaintiffs respectfully ask this Court to find

        that the district court erred and abused its discretion in granting Defendants’ motion

        to abstain and in granting Defendants’ motion to dismiss the claims of six Named

        Plaintiffs as moot based on each of the four issues raised in Section II, supra, and

        reverse the district court’s decision.



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           VII. REQUEST FOR ORAL ARGUMENT


              Under Local Rule 34(a), Plaintiff-Appellants respectfully request oral

        argument. Given the unique complexity of this case, Plaintiff-Appellants believe that

        oral arguments would assist the Court’s consideration in this matter.

        Dated: November 8, 2021

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           1. This brief complies with type-volume limits because, excluding the parts of
              the document exempted by Fed. R. App. R. 32(f) (cover page, disclosure
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        Dated: November 8, 2021                       /s/ Richard W. Walters
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                         CERTIFICATE OF FILING AND SERVICE

              I hereby certify that on this 8th day of November, 2021, I caused this Brief of

        Appellants to be filed electronically with the Clerk of the Court using the CM/ECF

        System, which will send notice of such filing to all registered CM/ECF users.



                                                      /s/ Richard W. Walters
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